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                                                     PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                      No. 23-1351


        MARYLAND SHALL ISSUE, INC.; FIELD TRADERS LLC; CINDY’S HOT
        SHOTS, INC.; PASADENA ARMS, LLC; WORTH-A-SHOT, INC.,

                                Plaintiffs - Appellants,

                        v.

        ANNE ARUNDEL COUNTY MARYLAND,

                                Defendant - Appellee.

        -----------------------------------------------------

        STATE OF MARYLAND; MATTHEW MILLER; DEBORAH AZRAEL; BRADY
        CENTER TO PREVENT GUN VIOLENCE; MARYLANDERS TO PREVENT
        GUN VIOLENCE, INCORPORATED; TIM CAREY; KELLY ROSKAM;
        CONSTITUTIONAL ACCOUNTABILITY CENTER; AMERICAN MEDICAL
        ASSOCIATION; MEDCHI; MARYLAND STATE MEDICAL SOCIETY;
        AMERICAN ACADEMY OF PEDIATRICS; AMERICAN ACADEMY OF
        PEDIATRICS, MARYLAND CHAPTER; MARYLAND PSYCHIATRIC
        SOCIETY; WASHINGTON PYSCHIATRIC SOCIETY; DOROTHY PAUGH;
        GWENDOLYN LA CROIX; CHERYL BROOKS; PATTI BROCKINGTON; GUN
        OWNERS FOR SAFETY; DON BAUGHAN,

                Amici Supporting Appellee.



        Appeal from the United States District Court for the District of Maryland, at Baltimore.
        Stephanie A. Gallagher, District Judge. (1:22-cv-00865-SAG)


        Argued: December 8, 2023                                          Decided: January 23, 2024
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        Before NIEMEYER, GREGORY, and HEYTENS, Circuit Judges.


        Affirmed by published opinion. Judge Niemeyer wrote the opinion, in which Judge
        Gregory and Judge Heytens joined.


        ARGUED: Mark William Pennak, LAW OFFICES OF MARK W. PENNAK, Chevy
        Chase, Maryland, for Appellants. William Ernest Havemann, HOGAN LOVELLS US
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        Hamilton F. Tyler, Deputy County Attorney, Tamal A. Banton, Senior Assistant County
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        Tirschwell, James Miller, Nina Sudarsan, EVERYTOWN LAW, New York, New York,
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        Accountability Center. Anthony G. Brown, Attorney General, Robert A. Scott, Assistant
        Attorney General, Ryan R. Dietrich, Assistant Attorney General, OFFICE OF THE
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        Amici American Medical Association; MedChi; The Maryland State Medical Society;
        American Academy of Pediatrics, Maryland Chapter; American Academy of Pediatrics;
        The Maryland Psychiatric Society; and Washington Psychiatric Society. Bradley S. Lui,
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        Miller and Deborah Azrael. Arthur Luk, Roberta L. Horton, Hannah R. Leibson,
        ARNOLD PORTER KAYE SCHOLER LLP, Washington, D.C., for Amici The Brady
        Center to Prevent Gun Violence, Marylanders to Prevent Gun Violence, Tim Carey, and
        Kelly Roskam. Andrew R. Dunlap, Vivek V. Tata, T. Liam Murphy, Emma C. Holland,
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        Gwendolyn La Croix, Cheryl Brooks, Don Baughan, and Patti Brockington.




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        NIEMEYER, Circuit Judge:

               Deaths by suicide have increased nationally over recent years, and now roughly

        48,000 people die annually from suicide. And over 50% of those suicides were committed

        with firearms, roughly twice the number committed with the second most common means

        used, according to the Centers for Disease Control and Prevention.

               Similar statistics are reflected in Anne Arundel County, Maryland, and the County

        accordingly declared “suicide a public health crisis.” In response to that crisis, it enacted

        an ordinance entitled “Public Safety — Distribution of Literature to Purchasers of Guns or

        Ammunition,” which requires the Anne Arundel County Department of Health to “prepare

        literature relating to gun safety, gun training, suicide prevention, mental health, and conflict

        resolution” and to distribute this literature to “all establishments that sell guns or

        ammunition” in Anne Arundel County. The ordinance also requires those establishments

        to make the literature “visible and available at the point of sale” and to distribute it “to all

        purchasers of guns or ammunition.” An initial violation of the ordinance carries a $500

        civil fine, and each subsequent violation carries a $1,000 civil fine.

               As required by the ordinance, the Department of Health distributed two pieces of

        literature to gun dealers in Anne Arundel County for distribution to purchasers of guns or

        ammunition — an eight-page pamphlet entitled “Firearms and Suicide Prevention” and a

        single page flyer providing information about Anne Arundel County’s resources for

        “conflict resolution,” including where to obtain a suicide-prevention toolkit.

               Four gun dealers in Anne Arundel County, as well as Maryland Shall Issue, Inc., a

        Maryland corporation dedicated to the preservation and advancement of gun owners’

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        rights, commenced this action against Anne Arundel County, contending that the ordinance

        compels gun dealers to convey the County’s message “relating to gun safety, gun training,

        suicide prevention, mental health, and conflict resolution” to their customers, in violation

        of their “First Amendment right ‘not to speak’ on such subjects.” They sought declaratory

        and injunctive relief, as well as compensatory damages.

               On the parties’ cross-motions for summary judgment, the district court granted

        summary judgment to Anne Arundel County, concluding that the literature distributed

        pursuant to the ordinance was constitutionally permissible because it compelled

        commercial speech that was factual and uncontroversial and furthered a government

        interest, complying with the test established by Zauderer v. Office of Disciplinary Counsel

        of the Supreme Court of Ohio, 471 U.S. 626 (1985). In the course of its ruling, the court

        also excluded the plaintiffs’ expert witness’s report because the expert based his opinions

        on an interpretation that the distributed literature conveyed the message that access to

        firearms causes suicide and therefore discouraged the purchase of firearms. Because the

        court read the literature not to convey that message, it ruled that the expert’s opinions were

        irrelevant.

               From the district court’s order dated March 21, 2023, the plaintiffs filed this appeal,

        challenging both of the district court’s rulings. We affirm.


                                                      I

               Following the 2018 mass shooting at the Capital Gazette newspaper in Annapolis,

        which was deeply traumatic to the Anne Arundel County community and widely


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        publicized, the Anne Arundel County Executive issued an executive order creating a task

        force to address how the County could use its public health system to reduce gun violence.

        As part of that ongoing effort, the County, by resolution, also declared suicide “a public

        health crisis,” recognizing that, “according to the Task Force, from 2013 to 2017 there were

        209 deaths in Anne Arundel [County] caused by guns and, of those 209 deaths, 141 (67%)

        were deaths by suicide.” Moreover, it found that “suicide deaths have increased.” It

        recognized that of all suicides in the County, guns were the most common means used.

               To address that public health crisis, the County enacted the 2022 ordinance that

        required the Department of Health to prepare literature for distribution to gun purchasers

        through gun dealers in the County. In fulfilling this obligation, the Department used a

        pamphlet created by a collaboration of the American Foundation for Suicide Prevention, a

        leading national nonprofit suicide-prevention organization, and the National Shooting

        Sports Foundation, “the firearm industry trade association.” These two organizations

        developed the pamphlet as a resource “to help firearms retailers, shooting range operators

        and customers understand risk factors and warning signs related to suicide, know where to

        find help and encourage secure firearm storage options.” And they asked retailers and

        ranges to distribute the material to customers “because doing so [would] help save lives.”

               While the County did not itself prepare the pamphlet, it did prepare a one-page flyer

        providing County resources for conflict resolution. That flyer stated, “Conflict Resolution

        is a process to help you find the best way to resolve conflicts and disagreements

        peacefully.” The flyer provided contact information for County resources, including a

        County suicide-prevention toolkit.

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               As required by the 2022 ordinance, the Department of Health distributed the

        pamphlet and flyer to gun dealers in Anne Arundel County and directed them to display

        the literature in their stores and provide copies to customers purchasing guns or

        ammunition.

               Plaintiffs commenced this action shortly after the effective date of the ordinance,

        seeking relief from the ordinance on the ground that it compels speech that is contrary to

        their interests. Relying on the proffered report of their expert witness, they contended that

        the literature — the pamphlet in particular — conveyed the message that guns cause suicide

        and that therefore the real purpose of the literature was to discourage the purchase and

        possession of firearms by linking their possession to suicide. Thus, they contended that

        the literature was controversial speech impermissibly compelled by the County, in

        violation of the First Amendment.

               On cross-motions for summary judgment, the district court, in a 31-page opinion,

        granted judgment to Anne Arundel County. The court concluded that the ordinance

        compelled commercial speech mandating a quintessential health-and-safety warning about

        commercial products and therefore was constitutional under the Supreme Court’s decision

        in Zauderer v. Office of Disciplinary Counsel of the Supreme Court of Ohio, 471 U.S. 626

        (1985). It explained that the pamphlet conveyed factual and uncontroversial information

        in stating that access to firearms was a “risk factor” for suicide, noting that such information

        was “purely factual” and “well-documented.”            The court recognized that “firearm

        regulation in the United States is a highly controversial topic” but noted that the “pamphlets

        themselves only speak to the uncontroversial topics of suicide prevention and nonviolent

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        conflict resolution.” Finally, the court found that the message of the pamphlet and flyer

        was “reasonably related” to Anne Arundel County’s interest in preventing suicide and

        violence and that the distribution of the pamphlet and flyer was not “unduly burdensome.”

               In its opinion, the court also excluded the plaintiffs’ expert report because the

        opinions given there were premised on the assumption that the County’s pamphlet asserted

        a causal connection between access to guns and suicide. The court, however, concluded

        that the pamphlet, rather than stating a causal link between firearm access and suicide,

        merely “identifie[d] access to firearms and other lethal means as a ‘risk factor,’ and nothing

        more.” Accordingly, it found the testimony of the expert irrelevant and therefore excluded

        it.

               From the district court’s order dated March 21, 2023, the plaintiffs filed this appeal,

        challenging both the district court’s First Amendment ruling and its ruling excluding their

        expert witness’s report.


                                                      II

               The district court held that the Anne Arundel County ordinance and the disclosures

        required by it were constitutional, finding that the disclosures satisfied the constitutional

        limitations on compelled commercial speech, as set forth in Zauderer. The plaintiffs

        contend, however, that the district court erred in finding that the Zauderer standard was

        satisfied and that the court should have applied the Supreme Court’s holding in National

        Institute of Family and Life Advocates v. Becerra (“NIFLA”), 138 S. Ct. 2361 (2018), and

        found that the ordinance and compelled disclosures violated their First Amendment rights.


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        In particular, they challenge the district court’s findings (1) that the ordinance amounted to

        “commercial speech” and (2) that the speech was “factual and uncontroversial,” both of

        which are required to be constitutional under Zauderer. They note that the Anne Arundel

        County ordinance requires them to distribute literature, maintaining that this effectively

        compels them to speak in support of views that are not factual and that they find

        objectionable. They argue that the ordinance is an instrument for Anne Arundel County to

        publish an ideological point of view, to tell gun dealers what they must say, and to infringe

        on the right “not to speak,” all in violation of the First Amendment.

               While the plaintiffs acknowledge that product safety warnings “are of a type ‘long

        considered permissible’” under the Zauderer jurisprudence, they reject the notion that the

        County’s ordinance amounts to such a safety warning. They note, “Every purchaser of

        firearms from a licensed dealer already knows that a firearm can be dangerous if misused.”

        Therefore, they argue, the County’s ordinance has a different purpose. They reason that if

        health and safety relating to suicide were the real purpose, the pamphlet is “underinclusive”

        and should also have warned about the use of rope because “hanging is an equally lethal

        form of suicide and the second most common mode of suicide.” Yet, the County’s

        literature made no mention of suicide by rope. Thus, they conclude that the literature’s

        “focus on firearms and only firearms (and ammunition for firearms) makes plain that the

        real purpose of the literature [was] to discourage the purchase and possession of firearms

        and ammunition by linking possession of firearms to suicide and illegal conflict

        resolution.” They add, “[t]he County ha[d] no legitimate interest in discouraging or

        demonizing the exercise of Second Amendment rights.” The plaintiffs thus “strongly take

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        issue with the County’s attempt to link firearms to suicides and illegal conflict resolutions,”

        maintaining in essence that the County was sponsoring literature conveying the message

        that the public should not buy guns because they cause suicides.                And in these

        circumstances, they argue, NIFLA, not Zauderer, applies to render the ordinance

        unconstitutional.

               These positions taken by the plaintiffs present the issues (1) whether the district

        court’s interpretation of the pamphlet’s language is correct as a matter of law; (2) whether

        the literature was commercial speech; and (3) whether the compelled speech was factual

        and uncontroversial. We address them in order.


                                                      A

               The pamphlet, which is the central object of this appeal, must be taken for what its

        plain language says. And its meaning is a question of law for a court to resolve. See, e.g.,

        Nat’l Ass’n of Wheat Growers v. Bonta, 85 F.4th 1263, 1278 (9th Cir. 2023); CTIA-The

        Wireless Ass’n v. City of Berkeley, 928 F.3d 832, 846–47 (9th Cir. 2019).

               In this case, the district court read the pamphlet and held, as a matter of law, that its

        message was as follows:

               The pamphlet limits itself to identifying the risk that a firearm, like other
               items, could be used by a person contemplating suicide, and it focuses its
               message on informing gun owners how to safely store their firearms. . . . The
               pamphlet only identifies access to firearms as a risk factor.

        The plaintiffs, however, read the pamphlet to link firearms and suicides causally. They

        argue that by indicating that access to firearms increases the risk of suicide, the pamphlet’s

        message is that firearms cause suicide. And this message, they contend, “discourage[s] the

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        purchase and possession of firearms and ammunition by linking possession of firearms to

        suicide.” They essentially maintain that the thrust of the message conveyed is, “Don’t buy

        guns because they cause suicides,” which is in conflict with their interests in selling

        firearms and protecting gun owners’ rights.

               On appeal, we review the district court’s interpretation of the pamphlet de novo, and

        on that basis we also determine its meaning as a matter of law. See Planned Parenthood

        Minn., N.D., S.D. v. Rounds, 686 F.3d 889, 894, 906 (8th Cir. 2012) (en banc). In that

        posture, we conclude that the pamphlet does not reach as far as the plaintiffs maintain and

        that any reasonable reader would understand from the pamphlet that it only gives the

        message that because firearms are the leading means by which suicide is committed,

        firearms should be stored safely to reduce suicides by firearms. That conclusion, we

        believe, is supported by the text of the pamphlet.

               The pamphlet, which is 6 x 6 inches, contains eight pages. Page one contains the

        title of the pamphlet, “Firearms and Suicide Prevention,” in front of a picture of a smiling

        man and includes at the bottom the pamphlet’s cocreators — the National Shooting Sports

        Foundation and the American Foundation for Suicide Prevention. Page two is entitled

        “What Leads to Suicide?” and explains that there is no single cause. Rather, it explains,

        numerous mental health circumstances and conditions have been found to be causative,

        including “depression, anxiety and substance use problems.” It does not mention firearms

        or in any way suggest that they are a cause. Page three is simply a picture. Page four is

        entitled “Some People are More at Risk for Suicide than Others” and identifies three

        categories of risk factors, including “health factors,” “environmental factors,” and

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        “historical factors.” Under the “environmental factors,” it lists four categories, including

        “[a]ccess to lethal means including firearms and drugs.” Finally, at the bottom corner of

        the entire page is a boxed summary message reading, “Risk factors are characteristics or

        conditions that increase the chance that a person may try to take their life.” Page five is

        entitled “Take Suicide Warning Signs Seriously” and lists three generalized categories of

        signs, including “talk,” “behavior,” and “mood.” Under each category are numerous

        examples. Again at the bottom of the page is a boxed summary message stating, “Most

        people who take their lives exhibit one or more warning signs, either through what they

        say or what they do.” Page six is entitled “Reaching Out Can Help Save a Life” and lists

        five different methods by which a person can help prevent a suicide. Another boxed

        message in the bottom corner states, “Firearms are used in 50% of all suicides in the United

        States.” Page seven is entitled “Firearms Storage For Your Lifestyle” and suggests four

        different ways by which firearms may be stored safely. And page eight is entitled

        “Resources” and provides the contact information for six different suicide intervention

        organizations. At the bottom of the page are the logo-signatures of the National Shooting

        Sports Foundation and the American Foundation for Suicide Prevention.

               We conclude that this pamphlet, taken as a whole, see Recht v. Morrisey, 32 F.4th

        398, 417 (4th Cir. 2022), addresses suicide as a public health and safety concern and

        advises gun owners on how they can help. In particular, because firearms are the leading

        means for committing suicide, the pamphlet provides information on (1) recognizing the

        signs of suicide to spread awareness and (2) storing guns safely to take away the leading

        means of suicide. While, in conveying that message, it points out that “access” to firearms

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        is a “risk factor,” we do not read the pamphlet to suggest to the reader that he or she should

        not purchase a firearm. More particularly, we do not read it to suggest to firearm purchasers

        that firearms should not be purchased because doing so causes suicide. Rather, the

        pamphlet is more in line with other similar safety warnings — widely applicable and

        accepted — that gun owners should store guns safely, especially to prevent misuse and

        child access. See, e.g., 27 C.F.R. § 478.103; see also N.C. Gen. Stat. § 14-315.2; Fla. Stat.

        § 790.175; Tex. Penal Code Ann. § 46.13(g).

               Accordingly, we affirm the district court’s reading of the pamphlet and thus, with

        that understanding of the pamphlet’s message, address the First Amendment issues.


                                                      B

               Traditionally, commercial speech was found not to implicate the First Amendment.

        See Recht, 32 F.4th at 407; Valentine v. Chrestensen, 316 U.S. 52, 54 (1942). This

        changed, however, with the Supreme Court’s decision in Virginia State Board of Pharmacy

        v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 762 (1976), where the Court

        established that restrictions on commercial speech are subject to First Amendment scrutiny.

        The current jurisprudence relevant to this appeal was established in Zauderer, the seminal

        First Amendment case on compelled commercial disclosure requirements. In Zauderer,

        the Court held that compelled commercial speech is constitutional under the First

        Amendment so long as (1) it is “purely factual and uncontroversial”; (2) it is “reasonably

        related to the State’s interest in preventing deception of consumers”; and (3) it is not

        “unjustified or unduly burdensome.” 471 U.S. at 651. And since Zauderer, courts


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        unanimously have broadened the scope of the State’s interest to other governmental

        interests, including “protecting human health.” Nat’l Elec. Mfrs. Ass’n v. Sorrell, 272 F.3d

        104, 115 (2d Cir. 2001); see also Am. Beverage Ass’n v. City & Cnty. of San Francisco,

        916 F.3d 749, 756 (9th Cir. 2019) (en banc) (reaffirming that “Zauderer provides the

        appropriate framework to analyze a First Amendment claim involving compelled

        commercial speech — even when the government requires health and safety warnings,

        rather than warnings to prevent the deception of consumers” and noting that the circuits

        have “unanimously” held as much); Am. Meat Inst. v. U.S. Dep’t of Agric., 760 F.3d 18,

        34 (D.C. Cir. 2014) (en banc) (Kavanaugh, J., concurring) (noting a “country-of-origin

        labelling requirement” satisfies Zauderer because it “is reasonably related to the

        Government’s longstanding interest in supporting American farmers and ranchers”).

               In challenging the applicability of Zauderer, the plaintiffs contend first that the

        pamphlet does not amount to commercial speech of the type addressed in Zauderer because

        it does not “propose a commercial transaction.” They argue that the literature was not “an

        advertisement,” which is often recognized as commercial, and that the gun dealers have no

        “economic motivation for the speech,” explaining somewhat sarcastically that

        “[a]pparently, in the County’s view, people who go into gun stores or buy ammunition or

        firearms are uniquely in need of education about suicide and ‘conflict resolution.’” In

        addition, they claim that the literature “does not apply to any specific product or service or

        purport to warn consumers that the product has hidden dangers that justify a warning.” In

        short, they maintain the pamphlet is not confined to economic matters but extends to



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        political or ideological preferences of the government and therefore the compelled

        distribution of the pamphlet is unconstitutional by virtue of NIFLA.

               On this issue — whether the speech here is commercial — we note first that the

        Anne Arundel County ordinance requires the distribution of literature by gun dealers, who

        are commercial entities, that advises purchasers of guns to store them safely and thereby

        reduce their misuse for suicide. Moreover, it requires that the literature be displayed “at

        the point of sale,” i.e., in the gun dealer’s retail store. Thus, it is facially apparent that the

        required disclosures are a safety advisory linked to the sales of guns and ammunition,

        which are commercial transactions. See Am. Meat Inst., 760 F.3d at 26 (“Of course to

        match Zauderer, logically, the disclosure mandated must relate to the good or service

        offered by the regulated party”).

               In arguing nonetheless that the speech is not commercial, the plaintiffs focus

        primarily on the fact that it does not “propose a commercial transaction,” one Supreme

        Court definition of “commercial.” This argument, however, understands “commercial” far

        too narrowly.

               By its plain meaning, commercial speech is speech specifically related to

        commercial transactions.       Thus, to be sure, speech that “propos[es] a commercial

        transaction” is commercial. Zauderer, 471 U.S. at 637 (quoting Ohralik v. Ohio State Bar

        Ass’n, 436 U.S. 447, 455–56 (1978)). But speech is also commercial if it is “related solely

        to the economic interests of the speaker and its audience.” Cent. Hudson Gas and Elec.

        Corp. v. Public Serv. Comm’n of New York, 447 U.S. 557, 561 (1980) (emphasis added).

        And speech connected with the sale of a good or a service — promoting the product or

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        service, explaining it, or giving warnings about it — is commercial; it serves either the

        interests of the seller or “assists consumers and furthers the societal interest.” Id. Thus,

        while commercial speech includes speech proposing a commercial transaction, it also

        includes the advertising and promotion of products and services, assembly or user

        instructions, information about the product or service, disclaimers, and warnings on health

        and safety. As Justice Stevens observed in Rubin v. Coors Brewing Co., commercial

        speech includes “‘Surgeon General’s Warning’ labels on cigarettes,” “labeling

        requirements for food products,” “labeling requirements for drug products,” and

        “registration statement[s]” for securities. 514 U.S. 476, 492 & n.1 (1995) (Stevens, J.,

        concurring).

               With this more complete understanding of commercial speech, we readily conclude

        that the compelled speech at issue is commercial. While the literature does not propose a

        commercial transaction, as the plaintiffs correctly observe, it nonetheless does provide

        warnings of risks and proposed safety steps with respect to firearms sold by gun dealers in

        commercial establishments. Firearm retailers in Anne Arundel County are required to

        provide the specified literature in connection with the sales of firearms and ammunition to

        purchasers, which are commercial transactions. We conclude therefore that the mandated

        disclosure in this case falls squarely in the scope of what is understood to be commercial

        speech, and it is readily distinct from governmental attempts to “prescribe what shall be

        orthodox in politics, nationalism, religion, or other matters of opinion.” Zauderer, 471

        U.S. at 651 (internal quotations omitted).



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               We thus affirm the district court’s conclusion that the speech at issue in this case

        constitutes commercial speech.


                                                       C

               The plaintiffs also contend that the compelled speech is “neither factual nor

        uncontroversial,” as required by Zauderer, because (1) it suggests that firearms cause

        suicide, which they contend is not factual, and (2) its “real purpose . . . is to discourage the

        purchase and possession of firearms and ammunition,” which they contend is

        controversial. As their expert witness testified, they maintain that “any reader would think

        suicide is a bad thing, [and] then the implication is — the recommendation implied is don’t

        own a gun.” They conclude, accordingly, that the criteria for Zauderer are not fulfilled,

        and that the outcome of this case is governed by NIFLA, which held that a mandatory,

        controversial disclosure was unconstitutional.

               In NIFLA, the Supreme Court had before it a California statute requiring licensed

        clinics that primarily served pregnant women to give specified notices, including a notice

        that California provides free or low-cost services for abortion and a notice of the telephone

        number to obtain the service. 138 S. Ct. at 2368. A licensed pregnancy center opposed to

        abortions and others challenged the statute, arguing that the notice requirements violated

        their First Amendment rights. The Supreme Court agreed and struck them down. In doing

        so, it emphasized that the notices concerned government-drafted speech about the

        availability of state-sponsored abortions — “the very practice that petitioners are devoted

        to opposing,” id. at 2371 — and that the notices thus were hardly uncontroversial. While


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        the State urged that the Court uphold the statute under Zauderer, the Court held that

        Zauderer “does not apply here,” id. at 2372, explaining:

               Most obviously, the licensed notice is not limited to “purely factual and
               uncontroversial information about the terms under which . . . services will be
               available.” Zauderer, 471 U.S. at 651; see also Hurley v. Irish-American
               Gay, Lesbian and Bisexual Group of Boston, Inc., 515 U.S. 557, 573 (1995)
               (explaining that Zauderer does not apply outside of these circumstances).
               The notice in no way relates to the services that licensed clinics provide.
               Instead, it requires these clinics to disclose information about [S]tate-
               sponsored services — including abortion, anything but an “uncontroversial”
               topic. Accordingly, Zauderer has no application here.

        Id. (cleaned up).

               Thus, the NIFLA holding would apply if the plaintiffs could show, as they try, either

        that the pamphlet is not factual or that it is controversial. In this case, however, the two

        are part of the same argument, as they rely on the plaintiffs’ interpretation of the pamphlet

        that it communicates a causal relationship between firearms and suicide. The plaintiffs’

        factual claim is that there is no study that demonstrates that guns cause suicide. And based

        on that claim, they conclude that the pamphlet is controversial, arguing that its real purpose

        is to discourage the purchase of firearms despite the fact that such purchases are protected

        by the Second Amendment. This argument thus reduces to whether the pamphlet does

        indeed say that firearms cause suicides because the plaintiffs’ “controversial” argument

        follows only from their “factual inaccuracy” argument.

               As we have noted above, we do not read the pamphlet to suggest that firearms cause

        suicide. Rather, the pamphlet conveys (1) that there is “no single cause” for suicide but

        that it occurs most often “when several stressors and health issues converge to create an

        experience of hopelessness and despair”; (2) that 50% of all suicides are committed with

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        firearms; (3) that access to firearms is a “risk factor” that increases “the chance” of suicide;

        and (4) that the risk can be reduced by the safe storage of firearms. These statements are

        factual and not controversial. The pamphlet does not suggest that firearms cause suicide;

        indeed, as to the cause, the pamphlet identifies other causes such as mental conditions, but

        not firearms. It does state that access to guns increases the risk of suicide because guns are

        the primary means for committing suicide. This, however, is merely a logical syllogism:

        If guns are the primary means of suicide and if guns are not accessible to persons with

        suicidal ideation, then the number of suicides would likely decline. The pamphlet is thus

        factual and therefore, in this case, also uncontroversial.

               As such, the NIFLA holding is inapplicable. Indeed, NIFLA confirms that Zauderer

        is the appropriate lens through which we are to analyze the compelled speech in these

        circumstances. As the NIFLA Court explained, it did “not question the legality of . . .

        purely factual and uncontroversial disclosures about commercial products.” NIFLA, 138

        S. Ct. at 2376. And the reference to “purely factual and uncontroversial disclosures” is a

        reference to the Zauderer test. See 471 U.S. at 651 (approving compelled commercial

        disclosures that contain “purely factual and uncontroversial information”).

               In short, based on our reading of the pamphlet, which affirms the district court’s

        reading, we conclude that its contents are factual and uncontroversial, and Zauderer thus

        controls the outcome here.




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                                                      D

               While we conclude that the speech at issue here is commercial speech and that it is

        factual and uncontroversial, Zauderer also requires, for such speech to be constitutional,

        that it be “reasonably related” to the County’s interests and not be “unjustified or unduly

        burdensome.” 471 U.S. at 651.

               The plaintiffs do not mount a serious challenge with respect to these requirements,

        and we have no trouble concluding that the mandated literature satisfies them. It is

        elemental that government — here, Anne Arundel County — has an interest in the health

        and safety of its citizens and, in particular, an “interest in preventing suicide, and in

        studying, identifying, and treating its causes.” Washington v. Glucksberg, 521 U.S. 702,

        730 (1997). And, as the statistics demonstrate, this interest is not “purely hypothetical.”

        Recht, 32 F.4th at 419 (quoting NIFLA, 138 S. Ct. at 2377); see also id. (finding a disclosure

        justified when compelled “[i]n response to concrete concerns supported by empirical

        evidence”). The leading method for committing suicide in Anne Arundel County is with a

        firearm. And the Anne Arundel County Council passed its 2022 ordinance in the wake of

        a resolution that declared “suicide a public health crisis” after finding that suicides in the

        County had increased in the preceding five years. While the plaintiffs argue briefly that

        the County “has no legitimate interest in discouraging or demonizing the exercise of

        Second Amendment rights,” this argument is based on a reading of the literature that we

        reject, as explained above.

               Further, the mandated disclosure is reasonably related to these interests. The

        pamphlet explains the suicide crisis and the role that firearms play in it, suggesting at

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        bottom that gun purchasers can assist in preventing suicide by (1) recognizing warning

        signs, (2) referring those suffering to helpful resources, and (3) safely storing their guns to

        remove the principal means. This is in direct support of the County’s interests.

               We also conclude that the compelled display and distribution of the pamphlet and

        flyer in this case are not “unjustified or unduly burdensome.” Zauderer, 471 U.S. at 651.

        First, the pamphlet and flyer are not “unjustified,” as the crisis to which they respond was

        genuine and backed up by uncontroverted empirical data — that two-thirds of all firearm

        deaths in the County were by suicide; that firearms were the main means by which suicides

        were committed in the County; and that suicides in the County were increasing.

               Second, the mandated disclosures — the pamphlet and the flyer — are not “unduly

        burdensome.” There is no threat that the pamphlet and the flyer will “drown[] out the [gun

        dealers’] own message.” NIFLA, 138 S. Ct. at 2378. Moreover, the County ordinance does

        not burdensomely require firearms and ammunitions retailers to include on “all ‘print and

        digital advertising materials’” a “government-drafted statement,” id., or cover 20% of their

        products’ advertising and logo with a warning, Am. Beverage Ass’n, 916 F.3d at 753, 757.

        Thus, the pamphlet and flyer do not commandeer or overwhelm any message that the gun

        dealers would wish to make to gun purchasers. Rather, the gun dealers are required only

        to make the pamphlet and flyer — which were prepared and provided by the County at no

        cost to the gun dealers — “visible and available at the point of sale” and “distribute [them]

        to all purchasers of guns or ammunition.” Complying is as simple as having the literature

        at the checkout counter and including it in the bag with the purchased goods. This need

        only take seconds.

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                                                *       *      *

               At bottom, we conclude that the district court properly applied Zauderer to address

        the plaintiffs’ First Amendment challenge to the County’s mandatory disclosure and that,

        under Zauderer, the literature mandated by the County for distribution to gun dealers and

        in turn to their customers is not unconstitutional. Accordingly, we affirm the district

        court’s First Amendment ruling.


                                                       III

               The plaintiffs also contend on appeal that the district court abused its discretion in

        excluding the report of the plaintiffs’ expert witness, Dr. Gary Kleck. As noted above, Dr.

        Kleck read the pamphlet mandated for distribution to communicate, in essence, that guns

        cause suicide. Based on that understanding of the pamphlet, he concluded, in his expert

        opinion, that the pamphlet was not factual and therefore was controversial because “[t]here

        is at present no reliable body of scientific evidence to support the County’s claims.” He

        reasoned that in the absence of such scientific evidence, the County’s claim that guns cause

        suicide is “at best highly questionable; at worst, it is false.”

               Because the district court read the same pamphlet to assert not a “causal”

        relationship between firearms and suicide, but a “correlative” one, it found that Dr. Kleck’s

        opinion, based on a misreading of the pamphlet, was irrelevant to the issues in the case and

        therefore excluded his report.

               We agree with the district court that Dr. Kleck’s opinion that the pamphlet was not

        factual and therefore was controversial was predicated on his reading of the pamphlet as


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        asserting that firearms cause suicide. Because we conclude that the pamphlet does not

        make that claim, we also conclude that the district court did not abuse its discretion in

        excluding Dr. Kleck’s report. See United States v. Iskander, 407 F.3d 232, 238 (4th Cir.

        2005) (noting that district courts are given “considerable discretion to determine whether

        to admit expert testimony”); Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591

        (1993) (“An additional consideration under [Federal Rule of Evidence] 702 — and another

        aspect of relevancy — is whether expert testimony proffered in the case is sufficiently tied

        to the facts of the case that it will aid the jury in resolving a factual dispute” (cleaned up)).


                                                       IV

               This case is about a pamphlet that Anne Arundel County requires be provided to

        purchasers of guns in the County as a health and safety advisory, informing purchasers of

        the nature, causes, and risks of suicides and the role that guns play in them. It ultimately

        encourages purchasers to store their guns safely to help reduce suicides in the County.

               The plaintiffs, however, are attempting to make the pamphlet about something

        more. Fearing that linking this disclosure with gun sales in the County would somehow

        undermine gun purchasers’ and owners’ Second Amendment rights, the gun dealers and

        Maryland Shall Issue mounted this First Amendment challenge, arguing that the pamphlet

        is not compelled commercial speech of the limited kind authorized by Zauderer. The

        plaintiffs’ fear, however, is unfounded. We conclude that the pamphlet is simply, and no

        more, a public health and safety advisory that does not discourage the purchase or

        ownership of guns. And we are confident that gun purchasers in Anne Arundel County


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        will recognize it as such. While such an advisory surely does not discourage gun ownership

        or undermine Second Amendment rights, it does encourage generous responses to a serious

        public health issue, and gun dealers might well find it admirable to join the effort.

               The judgment of the district court is

                                                                                       AFFIRMED.




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